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                 Exhibit 46 to
  The Governor’s Motion for Summary Judgment


           National Foundation for Gun Rights
                Interrogatory Responses




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